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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMERICAN GENERAL LIFE
INSURANCE COMPANY,

Plaintiff,
v. C.A. No. 1:22-cv-01092-GBW

WILMINGTON TRUST,
NATIONAL ASSOCIATION,

Defendant.

WILMINGTON TRUST,
NATIONAL ASSOCIATION,

Defendant/Counter-Plaintiff,
V.

AMERICAN GENERAL LIFE
INSURANCE COMPANY,

Plaintiff/Counter-Defendant.

JOINT MOTION FOR EXTENSION OF DEADLINES

Pursuant to Local Rule 16.4, American General Life Insurance Company (“American Gen-
eral”) and Wilmington Trust, N.A., as Securities Intermediary (“Securities Intermediary”’) (collec-
tively the “Parties’”) hereby jointly move this Honorable Court for an Order extending the deadlines
in the Joint Scheduling Order (ECF 45) by roughly seventy-five (75) days. In support of this Joint
Motion, the Parties state as follows:

1. The Parties seek a seventy-five (75) day extension of the remaining pretrial dead-
lines in the Joint Scheduling Order (ECF 45).

2: Following entry of the Scheduling Order, the Parties have diligently engaged in
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discovery. Among other things, the Parties have exchanged and responded to written discovery,
have produced documents, have prepared third party subpoenas and are conferring on dates for
noticing party and third-party depositions. Moreover, the Parties have cooperatively worked to-
ward resolving and/or narrowing various discovery issues that have arisen through the meet-and-
confer process in a good faith effort to avoid unnecessarily burdening the Court.

a Despite the significant discovery that has been conducted, the Parties respectfully
submit that they cannot reasonably complete the remaining discovery needed within the current
schedule.

4. Good cause exists for granting the requested extension because it will allow the
Parties time to resolve and/or narrow the discovery issues at issue and to complete fact and expert
discovery in an orderly manner. Moreover, the involvement of third-parties in discovery in this
case pose extra scheduling challenges to the orderly completion of discovery.

5. The Parties have not unreasonably delayed in seeking discovery or this extension,
nor is this extension request being sought for purposes of delay or any other improper purpose.
No party will suffer prejudice by the requested extension.

NOW THEREFORE, it is hereby stipulated and agreed by the Parties hereto, subject to
Court approval, that the deadlines provided in the Court’s Joint Scheduling Order (ECF 45), shall

be extended by roughly seventy-five (75) days, as follows:

Event Current Deadline Proposed Date
Fact Discovery Deadline Aug. 30, 2024 Nov. 15, 2024
Opening Expert Reports Sept. 20, 2024 Dec. 6, 2024

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Rebuttal Expert Reports Oct. 23, 2024 Jan. 10, 2025
Reply Expert Reports Nov. 8, 2024 Jan. 24, 2025
Expert Depositions Dec. 6, 2024 Feb. 21, 2025
Close of Expert Discovery Dec. 6, 2024 Feb. 21, 2025
Dispositive Motion Deadline | Jan. 24, 2025 April 11, 2025 #
Final Pretrial Conference June 3, 2025 TBD +

Trial Date June 9, 2025 TBD-*

Respectfully submitted this the 17" day of September, 2024.

/s/ Steven L. Caponi

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Matthew B. Goeller

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/s/ Sean J. Bellew

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. ~ UNITED STATES DISTRICT JUDGE”

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